                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                            :
                                                  :      CHAPTER 13
ANDREW WILLIAM MULKERIN,                          :
                                                  :      CASE NO. 1:24-bk-00270-HWV
                       Debtor.                    :

                                             ORDER

         Upon consideration of the Debtor’s Motion for Emergency Injunctive Relief, Doc. 6, and

a hearing held on February 5, 2024, for the reasons stated on the record, it is

         ORDERED that the Motion is DENIED for failure to initiate an adversary proceeding or

otherwise state grounds to grant the Motion for Injunctive Relief.




                                                      By the Court,



                                                      ____________________________________
                                                      Henry W. Van Eck, Chief Bankruptcy Judge
                                                      Dated: February 5, 2024




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